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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

  RICHARD COOEY, et al.,

              Plaintiffs,
                                             Case No. 2:04-cv-1156
        v.                                   JUDGE GREGORY L. FROST
                                             Magistrate Judge Mark R. Abel
  TED STRICKLAND, et al.,

              Defendants.

  BRETT HARTMAN,

              Plaintiff,
                                             Case No. 2:09-cv-242
        v.                                   JUDGE GREGORY L. FROST
                                             Magistrate Judge E.A. Preston Deavers
  TED STRICKLAND, et al.,

              Defendants.

  ROMELL BROOM,

              Plaintiff,
                                             Case No. 2:09-cv-823
        v.                                   JUDGE GREGORY L. FROST
                                             Magistrate Judge Mark R. Abel
  TED STRICKLAND, et al.,

              Defendants.

  LAWRENCE REYNOLDS,

              Plaintiff,
                                             Case No. 2:10-cv-27
        v.                                   JUDGE GREGORY L. FROST
                                             Magistrate Judge Mark R. Abel
  TED STRICKLAND, et al.,

              Defendants.
                                 OPINION AND ORDER

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         The consolidated cases are before the Court for consideration of the following filings:1

         (1) Plaintiffs’ motion for an extension of time or a stay of the motions in limine filing

  deadline (ECF No. 866);

         (2) Plaintiffs’ motion in limine (ECF No. 867);

         (3) Defendants’ motion for leave to file answers instanter (ECF No. 868), Plaintiffs’

  memorandum in opposition (ECF No. 871), and Defendants’ reply memorandum (ECF No. 872);

  and

         (4) Defendants’ motions for summary judgment (ECF Nos. 820, 821, 823, 824, 825, 826,

  827, 828, 829, 830, 831, 832, 833, 834, 835, 836, 842), Plaintiffs’ memorandum in opposition

  (ECF No. 849), Defendants’ reply memorandum (ECF No. 861), and Plaintiffs’ sur-reply

  memorandum (ECF No. 864).2

         For the reasons that follow, this Court GRANTS Plaintiffs’ motion for an extension of

  time or a stay of the motions in limine filing deadline (ECF No. 866), DENIES Plaintiffs’

  motion in limine (ECF No. 867), GRANTS Defendants’ motion for leave to file answers

  instanter (ECF No. 868), and GRANTS IN PART and DENIES IN PART Defendants’

  motions for summary judgment (ECF Nos. 820, 821, 823, 824, 825, 826, 827, 828, 829, 830,

  831, 832, 833, 834, 835, 836, 842) on Plaintiffs’ right to counsel and access to the courts claims

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           For ease of reference, the Court shall refer to filings by their docket numbers in Case
  No. 2:04-cv-1156. The Opinion and Order applies, however, to all corresponding filings in each
  consolidated case.
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            Most of the summary judgment briefing is identical with the exception of essentially
  non-substantive briefing recognizing the individualized circumstances leading to each plaintiff’s
  case. For ease of reference, this Court shall refer to only one specific motion or brief herein,
  with the understanding that any such reference applies to each corresponding filing.

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  while holding that part of the motions targeting Plaintiffs’ Equal Protection claims in abeyance.

                                             I. Background

           This Court has at various stages throughout this litigation set forth, at times in near

  exhaustive if not exhausting detail, the background of the lethal injection protocol challenges

  constituting this consolidated litigation. Because the parties agree on nearly all of the factual

  contentions relevant to the limited issues addressed in this Opinion and Order, the Court shall

  not repeat its summary here but incorporates by reference its prior recitations of the relevant

  facts.

           Of import here is that following over a half-decade of litigation variously conducted

  before this Court and the Sixth Circuit Court of Appeals, in addition to the parties’ attempts to

  invoke involvement by the United States Supreme Court, two basic claims comprise the last

  components of the lethal injection protocol challenges constituting this consolidated litigation:

  Plaintiffs assert a denial of the right to counsel and access to the courts claim and a Fourteenth

  Amendment equal protection claim targeting deviations from Ohio’s execution protocol that

  Plaintiffs claim undercut treating similarly situated inmates similarly during the execution

  process. Defendants have filed motions for summary judgment on each of these claims, and the

  parties have completed briefing. The motions are now ripe for disposition.

           Following summary judgment briefing, several issues arose that produced additional

  motions. After a January 20, 2011 telephone status conference that involved discussion of the

  state of the pleadings, the docket, discovery, the motions in limine deadline, and the probability

  of Ohio adopting a new execution protocol, Plaintiffs filed a motion for an extension of time or a

  stay of the motions in limine filing deadline. (ECF No. 866.) Plaintiffs also filed a motion in

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  limine related to Defendants’ failure to have filed answers to the most recent complaints. (ECF

  No. 867.) Defendants filed a motion for leave to file instanter answers to the amended

  complaints (ECF No. 868), and in light of the impending trial date and the various pending

  motions, this Court ordered expedited briefing on the latter motion (ECF No. 869).

                                      II. Miscellaneous Motions

         Following disposition of the latest motions to dismiss, Defendants failed to file answers

  to the amended complaints within the deadlines arising from Federal Rule of Civil Procedure

  12(a)(4)(A). Defendants offer as explanation for their lapses that they thought that no new

  answers were necessary, stating that “counsel were under the mistaken belief that this Court’s

  scheduling Order was controlling authority.” (ECF No. 868, at 4.) Because that Order did not

  set a deadline for the filing of answers, Defendants’ counsel assumed that “this Court felt

  answers were unnecessary.” (Id.) This understanding of civil litigation ignores Rule

  12(a)(4)(A), which sets a specific answer deadline “[u]nless the court sets a different time.” This

  Court’s silence meant that the default deadline controlled.

         As revealed in the January 20, 20011 telephone status conference, both this Court and

  Plaintiffs had incorrectly assumed that Defendants had answered the amended complaints until

  recently. The fact that the pleading deficiency went unaddressed until now is embarrassing for

  this Court and all counsel involved on both sides of this litigation.

         Regardless of the fact that the lack of new answers had so little effect on Plaintiffs that

  they did not even notice the deficiency until recently, Plaintiffs have not hesitated to attempt to

  capitalize on the issue. Although conceding that “[t]his Court has substantial discretion to allow

  Defendants’ untimely responsive pleadings under Rule 6(b),” Plaintiffs argue that the Court

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  should deny the filing of belated answers. (ECF No. 871, at 3.) Plaintiffs also seek deemed

  admissions that would amount to a de facto default judgment via a motion in limine. (ECF No.

  867.)

          In opposing the filing of answers, Plaintiffs assert prejudice. They contend that because

  Defendants are denying factual allegations as opposed to only the legal significance of those

  asserted events, Plaintiffs incur harm because they cannot conduct “targeted discovery that may

  be necessary.” (ECF No. 871, at 4.) Plaintiffs have not identified any specific allegations

  warranting any necessary discovery that has not already been conducted in the over six years of

  this litigation.

          Plaintiffs also posit that because the motions in limine deadline passed prior to the filing

  of the proffered answers, they were faced with the choice of forfeiting their right to file motions

  in limine or filing expansive motions based on what they guessed Defendants would dispute.

  This asserted prejudice ignores that motions in limine yield only interlocutory decisions, which

  are not binding on the Court at the bench trial where any and all issues that were raised or could

  have been raised in a motion in limine are subject to renewed consideration. Also informing this

  asserted prejudice is the fact that Plaintiffs have filed an unopposed motion to extend the

  motions in limine filing deadline. (ECF No. 866.) The Court GRANTS that motion and will set

  a new motions in limine deadline in consultation with the parties.

          In addition, Plaintiffs assert that prejudice exists because the purported new denials of

  facts by Defendants substantially affects Plaintiffs’ trial strategy, which they note includes which

  witnesses to call at trial. Plaintiffs do not provide specific details of how the answers

  substantially alter their preparations for the February 28, 2011 trial. Despite their conclusory

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  contention, this Court recognizes the theoretical possibility that Plaintiffs could be affected in

  some way. The Court is also acutely aware of obvious ramifications of the newest protocol

  revisions and the possible discovery issues. Consequently, the Court will discuss with the

  parties at the scheduled February 1, 2011 status conference any need for a new trial date. Such a

  delay is unfortunate given the troubled history of this lengthy litigation, but it is far preferable to

  delay a trial and address the issues fully and on the merits than to risk injustice. A new trial date

  would mitigate the unspecific prejudice Plaintiffs seek to invoke.

          Defendants have presented sufficient cause that should permit the filing of their proffered

  answers instanter. See Morgan v. Gandalf, Ltd., 165 F. App’x 425 (6th Cir. 2006) (affirming

  order permitting the post-summary judgment briefing filing of an almost eight-months late

  answer); Britord v. Collins, No. 2:07-cv-0306, 2007 WL 4371670 (S.D. Ohio Dec. 4, 2007)

  (granting leave to file an untimely answer). See also United States v. Munoz, 605 F.3d 359, 368

  (6th Cir. 2010) (discussing the concept of excusable neglect). Their conduct evinces neglect,

  and as in Morgan, equitable consideration of all of the relevant circumstances renders the neglect

  excusable. 165 F. App’x at 428–30. Justice requires that this case proceed on the merits and not

  achieve disposition even in part based on what amounts to a technicality that carries with it no

  harm. There is no prejudice to Plaintiffs, the reasons for the delayed filing are sufficient, the

  notable delay is of no consequence to the merits of this litigation, and Defendants are acting in

  good faith. Moreover, both sides have dropped the ball at various times during the course of this

  litigation, and it has been the practice of this Court to exercise often generous leniency so that

  the important issues involved in this litigation are not lost amid the carelessness or inexperience

  with civil litigation of select counsel.


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          Denying the filing of answers would mean that this Court endorses Plaintiffs’ attempt to

  prevail in this litigation in part or in the entirety regardless of the merits or lack thereof of any of

  their claims. Plaintiffs’ motion in limine seeks to capitalize on Defendants’ failing to file

  answers to the amended complaints by having critical issues turn on deemed admissions,

  regardless of the fact that Defendants have been litigating nearly every aspect of every issue in

  this litigation no matter how unimportant a point may be for years. Plaintiffs’ recent approach is

  ironic because Plaintiffs’ mantra throughout the over six years of this litigation has routinely

  been let us reach the merits at a trial, and Plaintiffs now attempt to circumvent the merits by

  technicality. But Defendants’ pleading error was a good faith mistake apparently created by the

  convoluted filings in this litigation and an inexplicable if not inexperienced interpretation of the

  Federal Rules of Civil Procedure and this Court’s Orders. No harm resulted to Plaintiffs.

  Deemed admissions and a denial of the belated filing of new answers are not warranted and

  would not further the cause of justice.

          The Court DENIES Plaintiffs’ motion in limine (ECF No. 867) and GRANTS

  Defendants’ motion for leave to file answers instanter (ECF No. 868).3

                                        III. Summary Judgment

          A. Standard Involved

          Summary judgment is appropriate “if the movant shows that there is no genuine dispute



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             Because the parties have completed briefing on the motion for leave to file instanter,
  the Court has proceeded to reviewing the filings and dispenses with waiting until the scheduled
  non-oral hearing date to issue its decision. Additionally, the Court notes that in light of the fact
  that it will accept additional motions in limine, Plaintiffs’ request for leave to amend its motion
  in limine is not well taken.

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  as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

  56(a). The Court may therefore grant a motion for summary judgment if the nonmoving party

  who has the burden of proof at trial fails to make a showing sufficient to establish the existence

          of an element that is essential to that party’s case. See Muncie Power Prods., Inc. v.

  United Tech. Auto., Inc., 328 F.3d 870, 873 (6th Cir. 2003) (citing Celotex Corp. v. Catrett, 477

  U.S. 317, 322 (1986)).

         In viewing the evidence, the Court must draw all reasonable inferences in favor of the

  nonmoving party, which must set forth specific facts showing that there is a genuine issue of

  material fact for trial. Id. (citing Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475

  U.S. 574, 587 (1986)); Hamad v. Woodcrest Condo. Ass’n, 328 F.3d 224, 234 (6th Cir. 2003). A

  genuine issue of material fact exists “if the evidence is such that a reasonable jury could return a

  verdict for the nonmoving party.” Muncie, 328 F.3d at 873 (quoting Anderson v. Liberty Lobby,

  Inc., 477 U.S. 242, 248 (1986)). Consequently, the central issue is “ ‘whether the evidence

  presents a sufficient disagreement to require submission to a jury or whether it is so one-sided

  that one party must prevail as a matter of law.’ ” Hamad, 328 F.3d at 234-35 (quoting Anderson,

  477 U.S. at 251-52).

         B. Analysis

         As noted, Plaintiffs assert 42 U.S.C. § 1983 claims against Defendants predicated upon

  purported violations of the right to counsel and the right of access to the courts. Defendants

  move for summary judgment on each component of these claims on multiple grounds. First,

  Defendants argue that because an execution is not a critical stage in the criminal process for

  Sixth Amendment purposes, there is no right to counsel here. Second, Defendants contend that

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  they are entitled to judgment as a matter of law because there is no evidence that they have

  unreasonably restricted access to counsel, they in fact provide accommodations enabling limited

  access to counsel and access to the courts, and they honor an inmate’s statutory right to designate

  counsel as a witness. Third, Defendants assert that Plaintiffs cannot prevail on their access to the

  courts claims because Plaintiffs cannot show the requisite actual injury of demonstrating that the

  protocol deprives Plaintiffs of the ability to present to a court non-frivolous allegations of

  violations of a constitutional right.

          Before this Court addresses the substance of these arguments, it is prudent if not

  necessary to define the contours of the issues presented. While opposing summary judgment in

  its entirety, Plaintiffs argue in the alternative that, at best, Defendants could obtain only partial

  summary judgment because Defendants have failed to target more than the Sixth Amendment

  component of Plaintiffs’ right to counsel and access to the court claims. Given the purported

  selective and narrow scope of Defendants’ summary judgment motions, Plaintiffs argue, this

  Court cannot grant summary judgment on Plaintiffs’ First, Eighth, and Fourteenth Amendment

  rights that stand apart from the Sixth Amendment rights asserted.

          Plaintiffs’ argument mistakes perceived nuance for salvaging technicality. As

  Defendants correctly contend in response to Plaintiffs’ argument that Defendants cannot prevail

  by undue simplification or the unbundling of often overlapping rights, the core issues involved in

  the right to counsel and access to the courts claims extend beyond bright-line distinctions that

  would compartmentalize these constitutional rights. Defendants’ arguments target whether there

  is infringement of the right of access to the courts, for example, regardless of the constitutional

  provision from which that right emanates. Moreover, Defendants’ arguments are sufficiently


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  broad to encompass each component of Plaintiffs’ claims, assuming for the sake of argument that

  Plaintiffs even sufficiently identified in their pleading all of the asserted sources of their rights.

  The consequent result is that Plaintiffs are unable to weave their hair-splitting argument into the

  Gordian Knot they seek to create to evade dispositive summary judgment. For present purposes

  then, the question is more whether the extant rights are infringed, not the specific provisions

  underlying those rights. Once a right exists, the inquiry turns to the viable exercise of that right.




          Turning to the first of the three basic components of Plaintiffs’ counsel and access

  claims, the Court recognizes that Defendants’ threshold argument that the Sixth Amendment

  does not apply because an execution is not a critical stage in the criminal process largely misses

  the point.4 It is well settled that “ ‘the Sixth Amendment guarantees a defendant the right to have

  counsel present at all “critical” stages of the criminal proceedings.’ ” Ayers v. Hudson, 623 F.3d

  301, 309 (6th Cir. 2010) (quoting Montejo v. Louisiana, 129 S. Ct. 2079, 2085 (2009)). But in

  debating any applicability of that right here, the parties are arguing over irrelevant issues.

  Plaintiffs’ inherent premise–that Defendants are not affording Plaintiffs an unhindered right to

  have counsel present during the execution process, thereby violating the right to counsel–is itself

  a flawed proposition, regardless of whether Plaintiffs have a constitutional right (from any

  source) to have counsel witness an execution.

          The protocol effective as of November 15, 2010, essentially tracks Ohio Revised Code §

          4
            Defendants argue again and again in their briefing that there is no right to counsel for
  inmates who seek to attack collaterally their convictions and sentence. It is well settled that this
  § 1983 litigation, which has been ongoing for nearly seven years, is not an attack on any
  inmate’s conviction or sentence, but is instead an attack on the execution protocol, which falls
  under the category of a condition of confinement.

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  2949.25 in identifying who may attend an execution. In addition to permitting the attendance of

  a clergyperson for an inmate, the statute permits an inmate to designate also “not more than three

  . . . persons . . . who are not confined in any state institution” to serve as witnesses. Ohio Rev.

  Code § 2949.25(A)(5). Section VI(A)(5)(f) of the protocol recognizes this statutory right of

  tripartite designation but qualifies the specific designations as “subject to the approval of the

  Warden or Acting Warden based on security considerations.” (ECF No. 865-1, at 3, Nov. 15,

  2010 Protocol.) There is no evidence that any warden, acting warden, or anyone associated in

  any way with the execution process has exercised, has attempted to exercise, or has

  contemplated exercising in the future this discretion to refuse a designation based on security

  concerns to preclude any counsel serving as a witness. Rather, the issue at the core of the

  parties’ debate is whether the fact that an inmate can have counsel present to witness an

  execution only if the inmate designates counsel as one of the three permissible witnesses runs

  afoul of the Constitution.

         The answer is no. A system that requires an inmate to forego one layperson witness in

  order to have counsel present in no way functions as an infringement on any right to counsel or

  effectuates any preclusive effect of constitutional import. Whether grounded in the Sixth

  Amendment or elsewhere in another amendment to the Constitution, any possible right to

  counsel trumpeted by Plaintiffs in this litigation thus remains untouched by Ohio Revised Code §

  2949.25 and the protocol. Both the statute and the protocol permit the presence of counsel

  regardless of whether there is any right to counsel in this context. If there is no right to counsel

  that applies to an execution, then a scheme that enables at an inmate’s discretion the presence of

  counsel of course cannot offend the Constitution. And if there is a right to such counsel, then a


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  scheme that enables at an inmate’s discretion the presence of such counsel does not as a matter

  of law infringe on that right. This Court therefore need not and does not decide the precise

  source of the right or whether the right even applies here because the statutory and protocol rules

  requiring that any attendant counsel for an inmate be a designated witness do not present any

  issue of actual constitutional dimension. In other words, because Ohio allows counsel to witness

  executions regardless of whether the Constitution mandates that the state do so, the existence of

  any such mandate is moot.

         If an inmate designates counsel as a witness, then only the ability for that inmate to have

  three (instead of two) non-counsel designated witnesses is lost. This does not infringe on a

  constitutional right, but only restricts the exercise of a state grant as to how many layperson

  witnesses that inmate may have. The witness scheme presented by the statute and the protocol

  always affords the option of the presence of counsel, and if the inmate seeks to have that to

  which he or she has no constitutional right–i.e., three non-counsel witnesses–then the inmate in

  making that choice voluntarily elects to forego the presence of counsel. The conditional exercise

  of the presence of counsel simply leads to the statutorily and protocol-created result of dropping

  a layperson witness, leaving any right to counsel untouched.

         Not every exercise of a constitutional right must be free of consequences. A criminal

  defendant exercising the right to proceed pro se forfeits any possible applicable right to

  appointed counsel. A defendant waiving the right to remain silent elects to forego a

  constitutional protection in order to exercise a right to speak. A defendant who seeks to plead

  guilty gives up the right to hold the prosecution to its burden of proof and the right to a trial.

  Similarly, if an inmate wants three layperson witnesses, he or she can elect to forfeit any possible


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  right to counsel serving as a witness without the rules enabling the inmate to do so running afoul

  of the Constitution. The exercise or forfeiture of any right to counsel at an execution are choices

  that are within the sole discretion on the inmate. As a matter of logic, the rules that present such

  a choice here cannot violate the Constitution.

         It is reasonable and no doubt in fact a matter of pragmatic necessity for a state to place

  limitations on the number of individuals who can witness an execution on an inmate’s behalf.

  Foregoing one layperson witness in favor of exercising any right to counsel is not a toll for the

  use of a constitutional right but an incidental result of no constitutional concern. The right to

  counsel, assuming there is one in this context, remains untouched; only the presence of layperson

  individuals who can serve as witnesses by the state’s good graces is consequently limited.

  Although Plaintiffs argue that there is no such analogous restriction on the presence of counsel

  for the state, Plaintiffs have failed to present any persuasive argument that any component of any

  right to counsel requires such a tit-for-tat approach. The Constitution does not compel this Court

  to function as a micro-manager assuming oversight responsibility over such discretionary

  governmental decisions; what the Constitution does in this case is simply compel this Court to

  decide whether the protocol and relevant state practices honor those rights set forth in the

  Constitution. Thus, because the witness rules applicable to Ohio executions do not on their face

  preclude or limit the exercise of any possible constitutional right to counsel to serve as a witness,

  but instead only eliminate a conditional layperson witness at an inmate’s election, the Court

  GRANTS summary judgment in favor of Defendants on this component of Plaintiffs’ claims.

         This leads to the next chronological component of Plaintiffs’ counsel/access argument:

  the assertion that Defendants are infringing on constitutional rights by failing to provide inmates


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  with the means of communicating with counsel during the actual execution process. It does not

  matter for this specific analysis whether there is the overarching right to counsel left undecided

  above because there is unquestionably a right to access the courts involved in the context of

  executions that inherently injects the issue of access to counsel into this discussion.5

         In supporting their motions for summary judgment, Defendants state in their briefing that

  they

         rely not only on plaintiffs’ lack of a right to counsel’s presence under the Sixth and
         Fourteenth Amendments, but also on undisputed facts that defendants have not
         prevented counsel from witnessing executions and have not denied counsel the
         ability to contact the courts and persons outside the institution after the execution
         commences.


  (ECF No. 861, at 6.)     As already discussed, the Court disagrees with a portion of Defendants’

  rationale but not with the dispositive outcome of the witness argument, and as set forth below,

  the Court concludes that Defendants are correct in regard to the contacting the courts argument.

  What proves problematic for Defendants is that portion of Plaintiffs’ claims that Defendants’

  quoted summary omits, the ability of an inmate to confer with his or her counsel. It is this

  essential linking component that makes the presence of counsel of any potential value to an

  inmate and that renders meaningful the ability of counsel to access a court on an inmate’s behalf.

  The problem is that the circumstances created by the protocol and the custom and practices

  create an environment that can likely suppress the timely assertion of non-frivolous

  constitutional claims.




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           For purposes of the instant discussion, this Court shall follow the parties’ lead and
  generally include access to the state governor as part of what access to the courts means.

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         Higher courts have made clear that challenges to execution protocols such as those

  involved in these consolidated cases constitute not attacks on the validity of confinement or its

  duration, but rather attacks on the circumstances of confinement. See Hill v. McDonough, 547

  U.S. 573, 579 (2006) (recognizing in the context of a lethal injection case that “[a]n inmate’s

  challenge to the circumstances of his confinement . . . may be brought under § 1983.”). The

  distinction is both relevant and ultimately dispositive of Defendants’ red herring rationale that

  there is no right to counsel because those same courts have also recognized the requirement that

  prisoners be provided with the tools they need “to attack their sentences” and more important

  here “to challenge the conditions of their confinement.” Whiteside v. Parrish, 387 F. App’x 608,

  613 (6th Cir. 2010) (quoting Lewis v. Casey, 518 U.S. 343, 355 (1996)). What this means is that

  an inmate possesses a constitutional right of access to counsel and to the courts to challenge the

  conditions of his or her execution–the manner in which Defendants currently intended to execute

  the inmate, to paraphrase the Supreme Court, which is distinct from a general challenge to a

  lethal injection sentence. Hill, 547 U.S. at 580 (“The complaint does not challenge the lethal

  injection sentence as a general matter but seeks instead only to enjoin respondents ‘from

  executing [the inmate] in the manner they currently intend.’ ”). Plaintiffs therefore have a right

  of access to the courts that necessitates reasonable provision by Ohio of the means of access

  enabling the exercise of that right. Access to the courts thus overlaps or intermixes with access

  to counsel under the relatively atypical circumstances presented by an execution.

         Another federal judicial officer addressed essentially the same core issue in Coe v. Bell,

  89 F. Supp. 2d 962 (M.D. Tenn. 2000), and arrived at a similar conclusion. In that case, a

  Tennessee inmate sought injunctive relief to prevent state officials from, among other things,


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  “preventing counsel . . . from being present with access to a telephone at his execution.” Id. at

  963. The Coe judge explained:

                 It is clear that prisoners have a constitutional right to have meaningful access
         to the courts pursuant to the First and Fourteenth Amendments of the United States
         Constitution. See Lewis v. Casey, 518 U.S. 343, 347, 116 S.Ct. 2174, 2178, 135
         L.Ed.2d 606 (1996); Bounds v. Smith, 430 U.S. 817, 97 S.Ct. 1491, 52 L.Ed.2d 72
         (1977) (holding that “inmate access [must be] adequate, effective and meaningful”);
         Thaddeus-X v. Blatter, 175 F.3d 378 (6th Cir. 1999). As stated in Lewis, “[i]t is for
         the courts to remedy past or imminent official interference with individual inmates’
         presentation of claims to the courts . . . .” Lewis, 518 U.S. at 349, 116 S.Ct. 2174.
         In Thaddeus-X, the Sixth [Circuit] Court acknowledged that “[t]he importance of this
         right to incarcerated individuals is evident and can hardly be overstated:
                 The right to file for legal redress in the courts is as valuable to a
                 prisoner as to any other citizen. Indeed, for the prisoner it is more
                 valuable. Inasmuch as one convicted of a serious crime and
                 imprisoned usually is divested of the franchise, the right to file a
                 court action stands . . . as his most ‘fundamental political right,
                 because preservative of all rights.’ ”


         Thaddeus-X, 175 F.3d at 391 (quoting Hudson v. McMillian, 503 U.S. 1, 15, 112
         S.Ct. 995, 117 L.Ed.2d 156 (1992) (Blackmun, J., concurring in the judgment),
         quoting Yick Wo v. Hopkins, 118 U.S. 356, 370, 6 S.Ct. 1064, 30 L.Ed. 220 (1886)).


                 In evaluating a claim of denial of meaningful access to the courts, this court
         is to “weigh[ ] the interests of the prison as an institution (in such matters as security
         and effective operation) with the constitutional rights retained by the inmates.” Id.
         at 390, 6 S.Ct. 1064. See also Turner v. Safley, 482 U.S. 78, 89-91, 107 S.Ct. 2254,
         96 L.Ed.2d 64 (1987). In order to raise a claim, a prisoner must demonstrate “actual
         injury.” See Lewis, 518 U.S. at 349, 116 S.Ct. 2174 (“It is the role of courts to
         provide relief to claimants . . . who have suffered, or will imminently suffer, actual
         harm . . . .”), 353 (prisoner must demonstrate “that a nonfrivolous legal claim had
         been frustrated or was being impeded”). See also Hadix v. Johnson, 182 F.3d 400,
         404-06 (6th Cir. 1999).


  Id. at 964. Applying this analytic framework to a potential constitutional claim by the inmate,

  the Coe judge held that the inmate’s “right to meaningful access to the courts to assert that right

  requires that counsel have some access to the prisoner during the last hour before the execution

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  and be permitted to witness his execution and have access to a telephone until execution has

  been successfully carried out.” Id. at 966.

         This same analysis properly informs the debate before the Court, leading to the

  conclusion that the lack of any possible inmate-counsel communication during the execution

  preparation and culmination is sufficient to preclude summary judgment. Although Defendants

  attempt to distinguish or otherwise undercut Coe, its reasoning as described above remains

  useful and persuasive.6 It is beyond question that “[t]he right of access to the courts is

  fundamental.” Dorn v. Lafler, 601 F.3d 439, 443 (6th Cir. 2010) (citing Bounds v. Smith, 430

  U.S. 817, 821 (1977); Johnson v. Avery, 393 U.S. 483, 485 (1969)). Plaintiffs here only have

  this fundamental access to the courts if they have access to their counsel because it is not

  Plaintiffs but their counsel who would contact a court if needed during the events immediately

  preceding and constituting the actual execution. The pre-execution consultation between an

  inmate and counsel permitted in Section VI(B)(4)(g) of the protocol is therefore not sufficient,

  however, despite Defendants’ contention to the contrary.

         Such limited consultation can never encompass issues or problems that arise during the

         6
            Two comments are necessary. First, it is not sufficiently distinguishable to the Ohio
  access to the courts analysis that Tennessee previously did not permit counsel to witness an
  execution while Ohio does (upon an inmate’s election as described herein). The Coe judge also
  recognized a related need for a means of communication once counsel is present, an issue that
  pervades Ohio’s protocol. The fact that Ohio permits counsel as a witness does not address the
  communication aspect of Coe that remains relevant. Second, although the Sixth Circuit
  subsequently vacated the injunctive relief order constituting Coe, that action does not invalidate
  the core utility of the district court’s decision. Coe v. Bell, 230 F.3d 1357, 2000 WL 1477441
  (6th Cir. 2000) (unpublished table decision). The appellate court vacated the injunction not
  because the district court’s constitutional reasoning was flawed–a matter on which there was no
  appellate determination–but on the express grounds that the execution had taken place and the
  issues were moot. The court of appeals did not opine on the substantive Coe reasoning with
  which this Court agrees today.

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  execution. Pre-execution day inmate-counsel communication and a cell-front visit that can last

  only until 8:45 a.m. on the day of the execution obviously does not enable an inmate and counsel

  to address issues occurring from that point, and it is during the IV insertion process and

  thereafter when Ohio has had numerous problems in carrying out its executions. If Plaintiffs

  cannot communicate with counsel after the designated 8:45 a.m. cut-off point, then this Court

  can hardly conclude as a matter of law that Plaintiffs have adequate, effective, and meaningful

  access to the courts. The time when events may occur that present a constitutional injury under

  the Eighth or Fourteenth Amendments is most likely to occur during the medical procedures

  leading to the actual administration of whatever drug or drugs employed during an Ohio

  execution.

         This is not to say that the Constitution guarantees an inmate an absolute protection

  against anything that may go wrong and require court intervention. Reality matters in the

  calculus, and like the judicial officer in Coe, this Court “is skeptical about a prisoner’s realistic

  ability to assert and get redress for a violation of his right to be free from cruel and unusual

  punishment during the execution itself.” Id. at 966. Defendants echo this proposition, arguing

  that “it seems doubtful that immediate access to the courts could ever be obtained as a practical

  matter in the event that ‘something goes awry’ during an execution.” (ECF No. 820.) They

  assert that a reasonable solution to the inherently impractical nature of concurrent access to the

  courts is that the law already recognizes a risk of future harm in these types of cases and permits

  pre-harm litigation like the cases sub judice.

         The ability to file a lawsuit prior to an execution is only a means of addressing a

  particular constitutional concern that is foreseeable, such as the contention that the use of a drug


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  or purportedly protocol-mandated procedure evinces cruel and unusual punishment. Permitting

  filings based on foreseeable likely events is not logically a constitutional panacea dispositive of

  the entirety of the counsel/access claim.

           The pragmatic pre-harm accommodation to the realities of the execution process that

  permits a lawsuit in advance of the actual injury is not a comprehensive salve for any and all

  unconstitutional violations. It simply cannot be. There is always the possibility of unforeseen

  events that perhaps few could anticipate, such as the distinctly dubious move by Ohio of

  recruiting a doctor who was not even a member of the execution team to assist in securing IV

  access for Broom’s execution–an event that apparently came to light only after the attempted

  execution and puncturing Defendants’ contention that “Broom was not precluded from

  presenting such claims to this Court.” (ECF No. 820, at 10.) He was, at least during the

  attempted execution when arguably such a claim would have resulted in immediate action by this

  Court.

           Defendants are correct that some circumstances are readily apparent to counsel during an

  execution without inmate-counsel communication; they point to the obvious difficulties of

  obtaining IV access broadcast on closed circuit video during the Broom execution attempt. But

  other circumstances are less readily ascertainable. If Ohio had obtained vein access and

  successfully completed the Broom execution, the notable component of Broom’s claim involving

  the participation of actors from outside the execution team would hardly have mattered and

  would likely have never made its way before this Court in any capacity that would have any

  consequence to Broom. Passive observation without necessary communication undercuts

  meaningful access to the courts.


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         These circumstances present an inherent risk of actual injury to the timely and

  meaningful presentation of non-frivolous claims to a court. This undercuts Defendants’

  argument that they are entitled to summary judgment on this aspect of the counsel/access claim

  because Plaintiffs cannot show the requisite actual injury. It is self evident. Requiring Plaintiffs

  in this unusual context to demonstrate an actual injury under traditional access to the courts

  analysis (such as a missed filing deadline in a non-frivolous proceeding) makes no sense when

  many of the claims could not even be recognized until during the execution process.

         A larger point that also bears emphasis is that although the means of access compelled by

  the Constitution do not guarantee a remedy to any constitutional infraction that might arise, it is

  sufficient that they promote the constitutional aims involved in the execution process. See Coe,

  89 F. Supp. 2d at 966 n.7 (noting that although a constitutional right may be difficult to assert

  during an execution, affording an inmate the constitutional protection of access to which he or

  she is entitled “will serve as a deterrence” to unconstitutional acts during the execution). It is the

  unique nature of an execution that sets this type of conditions of confinement case apart from

  other prisoner civil rights litigation that would not warrant such concurrent access to the court

  via access to counsel.

         Such access is no doubt without an administrative cost. Defendants present in their

  briefing a laundry list of questions that they posit would arise from a conclusion that there is an

  applicable right in the execution context to access counsel in order to access the courts. It is

  perhaps unclear to this Court what analytic function Defendants intend these slippery slope

  problem scenarios to serve. A possible inference is that, by highlighting the potentially often

  inconvenient consequences of affording inmates their constitutional rights, Defendants seek to


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  persuade this Court not by constitutional analysis but by pragmatic cautions that exist distinct

  from the words of the Constitution. The Court may be missing Defendants’ point, however,

  because certainly it cannot be Ohio’s position that mere bureaucratic convenience is the measure

  of the reach of the Constitution. Defendants’ reliance on what they deem “considerable practical

  reasons” for deciding that the Constitution applies in this context thus proves unpersuasive.

         Based on the foregoing analysis, the Court DENIES Defendants summary judgment on

  the inmate-counsel communications component of Plaintiffs’ claims. That portion of the claims

  remains an issue for trial unless the parties reach an agreement beforehand that would moot the

  remaining issues.7

         This leaves for disposition the third component of Plaintiffs’ counsel/access claims, or

  the argument that Defendants are violating the Constitution by failing to afford counsel

  telephonic access to the governor or the courts while counsel is in the building in which Ohio’s

  executions occur. Currently, Ohio provides an inmate’s counsel only with access to an office

  containing a telephone located in a separate building from the execution building. Counsel may

  bring cell phones and computers into that office. Defendants’ rationale to exclude cell phones or

  computers inside the actual execution building is purported security concerns. Plaintiffs contest

  the obvious inference, and the parties’ debate erodes in the briefing to whether Defendants are

  “attempt[ing] to paint all counsel as potential smugglers.” (ECF No. 861, at 15.) Hurt feelings

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           For example, having necessarily concluded that Defendants are not entitled to summary
  judgment because the protocol and practices fail to provide for communication between an
  inmate and counsel at critical times during the execution process, this Court need not and does
  not reach the moot issue of whether any necessary provisions implemented would have to
  provide for confidential communication. Also beyond the scope of determining whether
  summary judgment is appropriate is expressing any opinion on what communication procedures
  would pass constitutional muster. Such advice is beyond the limited role of this Court.

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  do not equate to constitutional analysis that can subvert prophylactic policy judgments, and even

  remote security concerns can nonetheless pass muster as constitutionally reasonable

  justifications necessitating alternative reasonable accommodations. It may be less than clear

  how security concerns might reach counsel’s use of an institution phone located in the execution

  building itself, but what might constitute a more convenient or even best practice is not what is

  important. What the Constitution minimally compels is what matters.

         Plaintiffs fail to direct this Court to any controlling authority supporting the propositions

  that the Constitution compels that counsel be permitted to bring a cell phone or personal

  computer into the building in which the execution takes place or that counsel be afforded the use

  of a telephone located in that specific building. The record in turn supports Defendants’

  contentions that counsel have reasonable access to a telephone and that use of that telephone or

  counsel’s personal cell phone affords an inmate, via counsel, means of accessing a court and/or

  the state’s governor. Former counsel for Broom was able to contact this Court effectively during

  the attempted execution of that client, and there is no evidence in the record before this Court

  that any counsel was ever unable to implement their clients’ right to access during the execution

  process.

         As with other issues earlier in this case, the unwritten custom and practices surrounding

  the protocol again salvage a portion of Ohio’s execution process. The practice of providing

  counsel with adequate access to a telephone through which counsel can contact a court or the

  governor proves dispositive of this last aspect of Plaintiffs’ counsel/access claims. There is no

  basis on this record to conclude that the existing access is insufficient or that greater access, such

  as direct access as debated in the briefing, is constitutionally compelled. This Court therefore


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  GRANTS Defendants summary judgment on this third component of Plaintiffs’ counsel/access

  claims.

                                             IV. Conclusion

            The Court GRANTS Plaintiffs’ motion for an extension of time or a stay of the motions

  in limine filing deadline. (ECF No. 866.) The Court will discuss a deadline for the filing of

  motions in limine at the February 1, 2011 status conference discussed below.

            This Court DENIES Plaintiffs’ motion in limine. (ECF No. 867.)

            The Court GRANTS Defendants’ motion for leave to file answers instanter (ECF No.

  868) and instructs the Clerk to detach the proffered answers and file them on the docket (ECF

  Nos. 868-1, 868-2, 868-3, 868-4, 868-5, 868-6, 868-7, 868-8, 868-9, 868-10, 868-11, 868-12,

  868-13, 868-14, 868-15, 868-16, 868-17).

            This Court GRANTS IN PART and DENIES IN PART Defendants’ motions for

  summary judgment (ECF Nos. 820, 821, 823, 824, 825, 826, 827, 828, 829, 830, 831, 832, 833,

  834, 835, 836, 842) on Plaintiffs’ right to counsel and access to the courts claims as set forth

  herein.

            The Court recognizes that this Opinion and Order does not reach the Equal Protection

  dispute that consumes the remainder of the parties’ summary judgment briefing. Recent

  developments in this litigation necessitate discussion of the limited nature of today’s summary

  judgment decision.

            On January 20, 2011, this Court held a telephone status conference at Plaintiffs’ request.

  Counsel for each side presented the Court with several issues, including the fact that Defendants


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  had failed to answer the most recent amended complaints, that it appears Defendants may have

  failed to disclose discovery material obtained by other means from Kentucky or elsewhere, and

  that Ohio was soon to alter its protocol and adopt a drug to replace the use of thiopental sodium,

  the non-expired supply of which is dwindling. These issues raised numerous concerns that, not

  inconsistent with the history of this litigation, once again threaten to disrupt the consideration of

  any potentially dispositive motions and the scheduled trial date. Since that conference,

  Defendants have informed this Court that Ohio is indeed changing its protocol.

         Amendment of the protocol may necessitate additional discovery that would inform the

  remaining Equal Protection claims, in addition to presenting cause for Plaintiffs to either seek

  leave to file amended complaints or new complaints incorporating this information or presenting

  new claims based on the protocol changes. Additionally, the possibility that undisclosed

  discovery may exist that could speak to how Ohio has obtained the protocol drugs and whether it

  has used or is contemplating the use of expired drugs during an execution is of concern.

         The Court directed counsel for Defendants to explore whether this discovery

  exists–counsel participating in the telephone conference indicated his surprise at the issue–and

  report back to Plaintiffs. Plaintiffs have not yet filed a motion under Federal Rule of Civil

  Procedure 56(d), but the Court recognizes that Plaintiffs’ pursuit of the possible discovery and

  the existence of the new protocol might serve as grounds for such a motion once Defendants

  inform Plaintiffs of all pertinent facts. Given the foregoing, it makes little sense to adjudicate the

  Equal Protection component of this case on the current summary judgment briefing at this time.

  At the least, the Court recognizes that it directed counsel to Defendants to report to counsel for

  Plaintiffs this week and that Plaintiffs may be waiting for the results of that report before


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  deciding on what course of action to pursue.

         It does not appear that the facts and evidence related to the counsel/access claims

  discussed in this Opinion and Order would change in light of the possible discovery violations

  material or a new protocol. It also appears that the parties anticipate proceeding on the current

  briefing in regard to that aspect of the case even before issues regarding the pleading are

  resolved. Consequently, the Court has proceeded to address those claims herein and issue its

  decision. The Court holds in abeyance that part of the summary judgment motions addressing

  the Equal Protection aspect of this case until it can untangle the issues surrounding the foregoing

  recent developments. Ultimately, the parties may ask the Court to proceed to issue a summary

  judgment decision on the current briefing or may seek to supplement or replace this briefing.

         This Court has already set a conference for February 1, 2011. (ECF No. 870.) At that

  time, the parties must be prepared to discuss all outstanding issues, including the new protocol,

  any discovery issues, the remaining components of the summary judgment motions, and the

  possibility of filing amended pleadings or a new case.

         IT IS SO ORDERED.

                                                        /s/ Gregory L. Frost
                                                       GREGORY L. FROST
                                                       UNITED STATES DISTRICT JUDGE




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